                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      7:23-CV-897



IN RE:                                               )
                                                     )               ORDER
CAMP LEJEUNE WATER LITIGATION                        )



         The Clerk of Court will maintain a Master Docket case file under the style “In re: Camp

LeJeune Water Litigation.” The court will enter a later order identifying who is permitted to file in the

Master Docket.

         The court ORDERS those who would like to serve as Plaintiffs’ Leadership Counsel or on

Plaintiffs’ Steering Committee to submit materials to the court not later than May 26, 2023. The

materials should identify: (1) the qualifications; (2) the proposed leadership structure; (3) common

fund issues; and (4) proposed length of appointments (such as one year, subject to renewal).

         Once the court has determined whether and to what extent it will adopt any proposed leadership

structure, the court anticipates seeking input from the plaintiffs on creating a master complaint, input

from the defendant on a master answer or other responsive pleading to the master complaint, a process

for consolidating discovery, a process for phased discovery, a process for coordinating expert-related

motions, a process for coordinating dispositive motions, a process for bellwether selection, a process

for trials, and a process for settlement negotiations.

         As part of the discovery process, the court anticipates formulating an ESI protocol, resolving

issues associated with the scope of discovery, seeking input on use of stipulations to streamline

discovery, and seeking input on some form of database with narrowly tailored questions seeking case-

crucial information for each plaintiff and the defendant. Cf. In re World Trade Ctr. Disaster Site Litig.,

598 F. Supp. 3d 498, 506–22 (S.D.N.Y. 2009).



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             Case 7:23-cv-00897-RJ Document 1 Filed 04/25/23 Page 1 of 5
        Some lawyers who are not admitted to the bar of this court have requested permission to appear

in multiple Camp Lejeune Justice Act cases pursuant to Local Civil Rule 83.1 (e). The court has

decided to create a process for lawyers who are not members of the bar of this court to appear in

multiple Camp Lejeune Justice Act cases. See Local Civil Rule 1.1 (noting court's authority to alter

"these rules" in any particular case). Each lawyer who is not a member of the bar of this court must

complete a pro hac vice motion on the form attached to this order. Local counsel shall file each motion

electronically in each case in which the out-of-district lawyer seeks to appear, even if that lawyer

previously filed a notice of special appearance. The motion shall include the e-mail address and contact

information of the lawyer seeking admission and be accompanied by the $100 fee per lawyer per case.

Each lawyer who is admitted pro hac vice pursuant to this process must file a notice of special

appearance within ten days of the filing date of the order granting the pro hac vice motion, unless the

lawyer previously filed a notice of special appearance prior to the date of this order. 1

        SO ORDERED. This 24th day of April, 2023.


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        RICHARD E. MYERS II                                      TERRENCE W. BOYLE
        Chief United States District Judge                       United States District Judge




    ~✓
     UISE w. ;LANA
        United States District Judge                             United States District Judge




1If the lawyer is not already a CM/ECF filer within the EDNC, he or she must submit an Electronic Filing Attorney
Registration form within seven days of the order granting the pro hac vice motion.

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           Case 7:23-cv-00897-RJ Document 1 Filed 04/25/23 Page 2 of 5
                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             ________________ DIVISION
                                No. ________________


___________________________,                 )
                                             )
                         Plaintiff,          )
                                             )        MOTION FOR ADMISSION
                  v.                         )          PRO HAC VICE
                                             )          and AFFIDAVIT
___________________________,                 )
                                             )
                         Defendant.          )


       __________________________ (“Local Counsel”), a member in good standing with the

Bar of the United States District Court for the Eastern District of North Carolina (“EDNC”), moves

for the admission of _____________________ (“Applicant”), who seeks permission to represent

_______________________________________________________________ (“Client”) in this

above-captioned Camp LeJeune Justice Act case.

       By signing this motion, Local Counsel and Applicant certify that:

       1.      Applicant is a member in good standing of the bar of the highest court of the State

or Territory where Applicant regularly practices law, which is ___________________.

       2.      Applicant practices under the name of or as a member of the following firm:

Firm name: ____________________________________________________________________

Mailing Address: _______________________________________________________________

City / State / Zip: _______________________________________________________________

Telephone Number: _______________________ Facsimile Number: ______________________

Email Address (required): ________________________________________________________




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            Case 7:23-cv-00897-RJ Document 1 Filed 04/25/23 Page 3 of 5
3.     Applicant certifies that s/he is also admitted to practice before and remains in good standing

with the Courts in the following jurisdictions: ________________________________________

______________________________________________________________________________

______________________________________________________________________________

       4.      Applicant certifies s/he has never been the subject of any formal suspension or

disbarment proceedings; never been denied admission pro hac vice in this or any other jurisdiction

or had pro hac vice admission revoked; never had any certificate or privilege to appear and practice

before any judicial or administrative body suspended or revoked; and never received public

discipline by any court or lawyer regulatory organization. If Applicant cannot so certify, Applicant

must attach a separate explanation including particular information disclosing the disciplinary

history or denial of admission.

       5.     Applicant certifies that the client requested Applicant to represent s/he in this matter,

along with Local Counsel.

       6.     Applicant agrees to be subject to the Orders of the EDNC, including the Local Rules

of the EDNC, and amenable to the disciplinary action of the civil jurisdiction of the EDNC in all

respects as if Applicant were a regularly admitted and licensed member of the Bar of this court.

       7.       Local Counsel is satisfied that Applicant is qualified to practice before the Bar of

the EDNC.

       8.       The required $100 fee for admission pro hac vice in this case is being submitted

with the filing of this motion.

       9.      Applicant consents to electronic notification and is a registered CM/ECF filer in

the EDNC or will submit an Electronic Filing Attorney Registration Form within seven days if this

motion is granted.



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            Case 7:23-cv-00897-RJ Document 1 Filed 04/25/23 Page 4 of 5
       By signing this Motion, we so certify.



       This, the ________ day of ___________________, 20__.



       ______________________________               ______________________________
       Local Counsel                                Applicant


Attorney Name:
Bar Number:
Firm Name:
Firm Address:
Firm City/State/Zip:
Telephone Number:
Fax Number:
Email Address:




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           Case 7:23-cv-00897-RJ Document 1 Filed 04/25/23 Page 5 of 5
